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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             WALTER BENNETT, JR., on                  :
             behalf of himself and all others         :
             similarly situated,                      :
                                                      :
                    Plaintiff,                        :
                                                      :
             v.                                       :     CIVIL ACTION NO.
                                                      :     1:12-CV-115-RWS
             ADVANCED CABLE                           :
             CONTRACTORS, INC., a Georgia             :
             Corporation; AMERICAN                    :
             CABLE, INC., a Georgia                   :
             Corporation; and LISA ADCOX              :
             MEYER,                                   :
                                                      :
                    Defendants.                       :

                                                  ORDER

                    This case comes before the Court on Plaintiff’s Second Motion to Toll

             the Statute of Limitations as to Putative “Opt-In” Plaintiffs [22], Plaintiff’s

             Motion for Conference Pursuant to Federal Rule of Civil Procedure 16 [25],

             Defendants’ Motion for Sanctions and for Limitations on Opposing Counsel’s

             Pre-Certification Communications [39], Plaintiff’s Motion for Conditional

             Collective Action Certification and Issuance of Notice to Putative Class

             Members [41], Defendants’ Motion to File a Surreply to Plaintiff’s Second




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             Motion to Toll the Statute of Limitations as to Putative “Opt-in” Plaintiffs [45],

             and, finally, Plaintiff’s Consent Motion to Dismiss with Prejudice Defendant

             American Cable, Inc. as a Defendant [67]. After reviewing the Record, the

             Court enters the following Order.

                                                 Background

                   On January 12, 2012, Plaintiff filed this putative collective action under

             The Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., seeking

             recovery of unpaid overtime compensation, liquidated damages, attorneys’ fees

             and costs. (Am. Compl., Dkt. [7] ¶ 1.) Plaintiff and the members of the

             putative class he represents are current or former “Cable Technicians”1

             employed by Defendants in Georgia, who allegedly received “piece-rate”

             compensation without any overtime premium for hours worked in excess of

             forty hours in given work weeks. (Id. ¶ 20.) Plaintiff claims that Defendants

             willfully violated the FLSA by deliberately failing to pay Cable Technicians

             overtime compensation for hours worked in excess of forty hours a week. (Id.

             ¶¶ 20, 23-25, 29-34.)


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                     Plaintiff uses the terms “Cable Technician” and “Cable Installer”
             interchangeably. (Pl.’s Mot. for Conditional Collective Action Certification and
             Issuance of Notice to Putative Class Members, Dkt. [41] at 2 n.1.)

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                                                 Discussion

             I.     Plaintiff’s Second Motion to Toll the Statute of Limitations as to
                    Putative “Opt-In” Plaintiffs [22] and Defendants’ Motion to File a
                    Surreply to Plaintiff’s Second Motion to Toll the Statute of
                    Limitations as to Putative “Opt-In” Plaintiffs [45]

                    A.    Defendants’ Motion to File a Surreply to Plaintiff’s Second
                          Motion to Toll the Statute of Limitations as to Putative “Opt-In”
                          Plaintiffs [45]

                    Defendants seek to file a surreply to Plaintiff’s Second Motion to Toll the

             Statute of Limitations as to Putative “Opt-In” Plaintiffs to respond to new

             allegations raised in Plaintiff’s reply brief regarding Defendants and their

             counsel. (Dkt. [45] at 1-2.) In particular, Defendants seek to respond to new

             allegations that Defendants’ counsel has engaged in misconduct designed to

             deter putative class members from opting in to the suit. (See Pl.’s Reply in

             Supp. of Second Mot. to Toll the Statute of Limitations as to Putative “Opt-In”

             Plaintiffs (“Pl.’s Reply”), Dkt. [42] at 7-13 (containing new allegations of

             misconduct on the part of Defendants’ counsel).)

                    Although neither the Federal Rules of Civil Procedure nor this Court’s

             Local Rules authorize the filing of surreplies, the Court may, in its discretion,

             permit the filing of a surreply when a valid reason exists, “such as where the



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             movant makes new arguments in its reply brief.” Frederick v. Mercedes Benz

             USA, LLC, 386 F. Supp. 2d 1190, 1197 (N.D. Ga. 2005). In this case, Plaintiff

             makes new allegations and arguments in his Reply regarding the conduct of

             Defendants’ counsel. This weighs in favor of allowing Defendants to file a

             surreply. The Court also notes that Plaintiff does not oppose Defendants’

             motion to file a surreply, having failed to file any response thereto. See LR

             7.1B, NDGa (“Failure to file a response shall indicate that there is no opposition

             to the motion.”) Accordingly, because Defendants’ motion is unopposed, and

             because the proposed surreply seeks to respond to new arguments raised in

             Plaintiff’s Reply, Defendants’ Motion to File a Surreply to Plaintiff’s Second

             Motion to Toll the Statute of Limitations as to Putative “Opt-In” Plaintiffs [45]

             is GRANTED.

                   B.     Plaintiff’s Second Motion to Toll the Statute of Limitations as to
                          Putative “Opt-In” Plaintiffs (“Pl.’s Second Mot. to Toll the Statute
                          of Limitations”) [22]

                   Plaintiff moves the Court to toll the running of the statute of limitations

             as to the claims of putative “opt-in” Plaintiffs as of January 12, 2012, the date

             Plaintiff filed the original Complaint in this case. Plaintiff argues that tolling is

             warranted in this case on three grounds: First, Plaintiff contends that the filing

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             of a collective action complaint under the FLSA automatically tolls the statute

             of limitations as to putative members of the plaintiff class. (Pl.’s Mem. in Supp.

             of Second Mot. to Toll the Statute of Limitations (“Pl.’s Mem.”), Dkt. [22-1] at

             11-12.) Second, Plaintiff contends that even if the statute of limitations is not

             automatically tolled upon the filing of an FLSA collective action complaint,

             tolling is warranted in this case on grounds of equitable estoppel or equitable

             tolling. (Id. at 12-20.) The Court considers these contentions, in turn.

                          1.     Statute of Limitations under the FLSA

                   Contrary to Plaintiff’s argument, the Court concludes that the statute of

             limitations is not automatically tolled as to the claims of putative opt-in

             plaintiffs upon the filing of an FLSA collective action complaint. Indeed, this

             argument is foreclosed by the plain language of the FLSA. The statute of

             limitations for actions brought under the FLSA is two years, or three years for

             willful violations. See 29 U.S.C. § 255 (providing that FLSA action “may be

             commenced within two years after the cause of action accrued, and every such

             action shall be forever barred unless commenced within two years after the

             cause of action accrued, except that a cause of action arising out of a willful

             violation may be commenced within three years after the cause of action

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             accrued”). The FLSA provides that a collective action “shall be considered to

             be commenced in the case of any individual claimant–

                   (a) on the date when the complaint is filed, if he is specifically
                   named as a party plaintiff in the complaint and his written consent
                   to become a party plaintiff is filed on such date in the court in
                   which the action is brought; or

                   (b) if such written consent was not so filed or if his name did not
                   so appear–on the subsequent date on which such written consent is
                   filed in the court in which the action was commenced.”

             29 U.S.C. § 256. Under the plain language of this provision, “opt-in plaintiffs

             are deemed to commence their civil action only when they file their written

             consent to opt into the class action.” Grayson v. K Mart Corp., 79 F.3d 1086,

             1106 (11th Cir. 1996). Thus, an opt-in plaintiff “must file his written consent to

             opt into the class action prior to the expiration of the statute of limitations on his

             [FLSA] claim.” Id. at 1107. As other courts likewise have noted, the Court

             finds the statute of limitations under the FLSA to be “clear and unambiguous.”

             Pendlebury v. Starbucks Coffee Co., No. 04-80521-CIV, 2008 WL 700174, at

             *2 (S.D. Ga. Mar. 13, 2008).

                   Under the plain language of § 256 of the FLSA, the statute of limitations

             is tolled as to the claims of a putative opt-in plaintiff only when the plaintiff has



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             opted-in to the suit by filing a written notice of consent. Indeed, the Eleventh

             Circuit has explained that the FLSA statute of limitations evinces Congress’s

             “concern that an opt-in plaintiff should not be able to escape the statute of

             limitations bearing on his cause of action by claiming that the limitations period

             was tolled by the filing of the original complaint.” Grayson, 79 F.3d at 1107

             (citation omitted). See also Ramos-Barrientos v. Bland, No. 606CV089, 2009

             WL 3851624, at *3 (S.D. Ga. Nov. 17, 2009) (“Plaintiffs contend that the

             statute of limitations was tolled for all ‘similarly situated’ [putative plaintiffs]

             once the five named plaintiffs filed this suit. This contention is simply

             incorrect. Under § 216(b), only written consent to opt-in will toll the statute of

             limitations of an opt-in plaintiff’s cause of action.”) (internal quotation marks

             and citations omitted).

                   Plaintiff relies on Armstrong v. Martin Marietta Corp., 138 F.3d 1374

             (11th Cir. 1998) in support of his argument that the filing of the complaint

             automatically tolls the statute of limitations as to the claims of putative opt-in

             plaintiffs. This case, however, is inapposite. Plaintiff cites Armstrong as

             “stand[ing] for the proposition that the statute of limitations in FLSA collective

             actions, like ADEA collective actions, is legally tolled upon the filing of the

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             Complaint.” (Pl.’s Mem., Dkt. [22-1] at 12.) In Armstrong, however, as

             Defendants correctly point out, the statute of limitations was tolled upon the

             filing of the plaintiffs’ Age Discrimination in Employment Act (ADEA)2

             complaint as to the claims of plaintiffs who had opted in to the plaintiff class.

             138 F.3d at 1379-80. Armstrong thus lends no support to Plaintiff’s position in

             this case.3

                    Having concluded that the filing of the complaint does not automatically

             toll the statute of limitations as to the claims of putative opt-in plaintiffs under

             the FLSA, the Court must next consider whether the circumstances of this case

             nonetheless warrant tolling on grounds of equity. Plaintiff contends that, in

             light of the specific facts of this case, Defendants should be estopped from

             asserting the statute of limitations as to putative opt-in Plaintiffs or that the



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                     The ADEA “expressly borrows the opt-in class action mechanism of the Fair
             Labor Standards Act of 1938, 29 U.S.C. § 216(b) (1994).” Armstrong, 138 F.3d at
             1379 n.6.
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                      Indeed, the Court in Armstrong considered a different issue than the one
             before the Court. The issue in Armstrong was whether a statute of limitations that had
             been tolled while the claimants were putative members of a class action immediately
             resumed upon denial of class certification or remained tolled through final judgment
             and completion of an appeal. 138 F.3d at 1378. (The Court concluded that it
             recommenced immediately upon entry of an interlocutory order denying class
             certification. Id. at 1380.)

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             doctrine of equitable tolling should apply. The Court considers these

             contentions, in turn.

                          2.     Equitable Estoppel

                   The Court concludes that Plaintiff has failed to show circumstances

             warranting equitable estoppel in this case. “The doctrine of equitable estoppel

             ‘has frequently been employed to bar inequitable reliance on statutes of

             limitations.’” Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1323 (11th

             Cir. 1989) (quoting Glus v. Brooklyn E. Dist. Terminal, 359 U.S. 231, 233

             (1959)). It is rooted in the maxim “‘that no man may take advantage of his own

             wrong,’” id. (quoting Glus, 359 U.S. at 232), and “prevents a defendant whose

             representations or other conduct have caused a plaintiff to delay filing suit until

             after the running of the statutory period from asserting that bar to the action,”

             Sanchez v. Loffland Bros. Co. et al., 626 F.2d 1228, 1231 (5th Cir. 1980).4

                   To successfully avoid the statute of limitations on grounds of equitable

             estoppel, “the late arriving plaintiff must show that she was misled by defendant

             or its agents so that she delayed filing suit” because of any of the following:


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                    In Bonner v. City of Prichard, the Eleventh Circuit adopted as binding
             precedent all decisions of the former Fifth Circuit handed down before October 1,
             1981. 661 F.2d 1206, 1209 (11th Cir. 1981).

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                    (a) an affirmative statement that the statutory period to bring the
                    action was longer than it actually was[;] or

                    (b) promises to make a better settlement of the claim if plaintiff did
                    not bring suit[;] or

                    (c) comparable representations and conduct.

             Id. at 1323-24 (citations omitted). “The plaintiff need not prove bad faith, but

             the conduct must be directed towards obtaining the delay in bringing suit, and

             must be motivated by a desire to lull the plaintiff into not bringing a lawsuit.”

             Barton v. Peterson, 733 F. Supp. 1482, 1491 (N.D. Ga. 1990) (citing Kazanzas

             v. Walt Disney World Co., 704 F.2d 1527, 1530 (11th Cir. 1983)). Thus, the

             nature of the defendant’s conduct is of crucial significance in determining

             whether an equitable estoppel is justified. Sanchez, 626 F.2d at 1231. “[I]n

             order to create an estoppel, the conduct of the defendant must be so misleading

             as to cause the plaintiff’s failure to file suit.” Id.

                    In accordance with the foregoing principles, the doctrine of equitable

             estoppel successfully has been invoked where the defendant misrepresented to

             the plaintiff’s counsel that the plaintiff’s claim had been fully paid and a release

             of liability executed in its favor, causing plaintiff’s counsel to delay filing suit.

             Keefe, 867 F.3d at 1323-24. Similarly, the doctrine has been found to apply

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             where the defendant actively misrepresented to the plaintiff that he had seven

             years in which to sue, thus inducing the plaintiff’s delay in filing suit beyond

             the three year statute of limitations governing his claims. Glus, 359 U.S. at

             231-35. The doctrine also has been held to apply “in cases where the defendant

             promised to pay the claim or to settle if the plaintiff did not file suit.” Sanchez,

             626 F.2d at 1231 (citing cases). Finally, the doctrine successfully has been

             invoked in cases where the defendant actively concealed the facts giving rise to

             the plaintiff’s cause of action. For example, a defendant who misrepresented to

             a plaintiff the grounds for her termination, thus concealing from her the facts

             that gave rise to her discrimination claim, was equitably estopped from

             asserting the statute of limitations. Reeb v. Econ. Opportunity Atlanta, Inc.,

             516 F.2d 924, 930-31 (5th Cir. 1975).

                   By contrast, equitable estoppel has been held not to apply in cases where

             there is no evidence of misleading conduct on the part of the defendant that

             prevented the plaintiff from timely filing suit. For example, in Burke v.

             Gateway Clipper, Inc., equitable estoppel did not apply when the defendant’s

             agents told the plaintiff, who had been injured during the course of his

             employment, “that [he] had nothing else coming to [him] other than [his] doctor

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             and hospital bills and to apply for unemployment . . . .” 441 F.2d 946, 948-49

             (3d Cir. 1971). The court reasoned that such statements were not of the type

             that would mislead a plaintiff into delaying filing suit. Id. at 949. Similarly, the

             court in Sanchez found the doctrine inapplicable where the defendants “made

             no affirmative misstatements regarding [the plaintiff’s] legal rights” and “did

             not promise any benefit to her if she refrained from filing suit.” 626 F.2d at

             1231. As a final example, the Eleventh Circuit in Kazanzas held that equitable

             estoppel did not apply where the plaintiff, at the time of his discharge from

             employment, “was generally aware of a right not to be discriminated against on

             the basis of age and of facts which would reasonably lead the plaintiff to

             conclude that his discharge was based on age.”5 704 F.2d at 1530.

                    The Court concludes that the doctrine of equitable estoppel is not

             warranted on the facts of this case. Specifically, the Court finds that Plaintiff

             has failed to put forward sufficient evidence of wrongdoing on the part of


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                      The court also rejected the plaintiff’s argument that an estoppel was
             warranted because the defendant had “held out hopes of reemployment”: “This case
             lacks the crucial elements of fraud or misrepresentations . . . . The[] good faith efforts
             by [the defendant to reemploy the plaintiff] cannot serve to estop it from asserting the
             statute of limitations. . . . [T]here was no misrepresentation by the defendant of its
             intent to rehire or otherwise accomodate the plaintiff’s claim.” Kazanzas, 704 F.2d at
             1532.

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             Defendants that was intended to, and did, lull putative plaintiffs into failing to

             opt in timely to the suit. The Court reaches this conclusion notwithstanding

             Plaintiff’s arguments to contrary.

                   Plaintiff first argues that equitable estoppel should apply in this case

             because Defendants ignored Cable Technicians’ complaints regarding their lack

             of overtime compensation and/or misrepresented to them that they were not

             eligible to receive such compensation given that they were paid according to a

             “piece-rate” system. (Pl.’s Mem., Dkt. [22-1] at 15-16.) For example, Plaintiff

             points to the Declaration of opt-in Plaintiff Patrick Thompson, in which

             Thompson states, “On multiple occasions throughout my employment with

             Advanced Cable . . ., I informed Lisa Adcox Meyer and Advanced Cable

             management staff that [Cable Technicians] should be receiving overtime

             compensation for work . . . performed in excess of 40 hours in given work

             weeks.” (Decl. of Patrick Thompson, Dkt. [22-4] ¶ 5.) Thompson declares

             further, “In response to my complaints about unpaid overtime, Lisa Adcox

             Meyer stated ‘I know I’m supposed to pay you guys overtime, but if I did I’d

             have to reduce your rate.’” (Id. ¶ 6.)




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                    Opt-in Plaintiffs Derek Moore and Raymond Canty offer similar

             declarations. Moore declares, “In 2010 and 2011, I made multiple complaints

             to Advanced Cable management, including manager Greg Parker, regarding the

             fact that I was not receiving overtime compensation . . . .” (Decl. of Derek

             Moore, Dkt. [22-5] ¶ 5.) Moore alleges that in response to these complaints,

             Mr. Parker told him to “‘work more’ if you want to make more money,” and

             that “‘you guys are paid piece rate compensation and you don’t get overtime.’”

             (Id. ¶¶ 6-7.) (See also Decl. of Raymond Canty, Dkt. [22-6] ¶¶ 5-6 (“I made

             multiple complaints to Advanced Cable’s management . . . regarding the fact

             that I was not receiving overtime compensation . . . . In response to my

             complaints to management about overtime, I was told that I was paid ‘piece

             rate’ compensation, and that I would be paid less if I was given overtime.”).)

                    These declarations, even if true,6 do not support an equitable estoppel.

             Rather than demonstrate that Defendants misled potential opt-in Plaintiffs as to

             their potential rights to overtime compensation, the declarations show that



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                     The Court notes that Defendants dispute the truth of the declarants’ assertions.
             (Defs.’ Resp. to Pl.’s Second Mot. to Toll the Statute of Limitations as to Putative
             “Opt-In” Plaintiffs, Dkt. [40] at 15-16, 20-21; Decl. of Greg Parker, Dkt. [40-1]; Decl.
             of Adrienne Cachussie, Dkt. [40-2].)

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             potential opt-in Plaintiffs were aware of their rights to overtime (or believed

             such rights existed) and regularly complained that these rights were being

             violated. Even if Defendants denied that Cable Technicians were entitled to

             overtime compensation, Plaintiff puts forward no evidence that putative

             plaintiffs were misled into believing this to be true. Indeed, the declarations

             plainly suggest otherwise–that Cable Installers believed they had a right to be

             paid for overtime work despite their “piece-rate” compensation.

                   Plaintiff also argues that an estoppel is warranted in this case because

             Advanced Cable management allegedly instructed opt-in Plaintiff Monty

             Dannenberg “to unlawfully make downward modifications to employees’

             reported work hours.” (Pl.’s Mem., Dkt. [22-1] at 16.) Dannenberg declares

             that he was instructed by an Advanced Cable manager to change Cable

             Installers’ time sheets to show fewer working hours than actually reported.

             (Decl. of Monty Dannenberg, Dkt. [22-3] ¶¶ 6, 9-12.) Dannenberg further

             declares that “[he] told management that [he] believed it was wrong to change

             ‘Cable Installers’ [sic] reported hours,” and that management directed him in

             response to “‘just follow the directive and change the records.’” (Id. ¶ 13.)




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                    These allegations, if true, could support a finding that Defendants

             willfully violated the FLSA for purposes of the statute of limitations. The

             allegations do not support an estoppel, however, because they do not suggest

             that any putative plaintiff was misled by Defendants into not opting in to the

             suit in a timely fashion. On the contrary, Dannenberg declares that he believed

             what he was instructed to do was wrong and that he voiced this sentiment to

             Advanced Cable management. Furthermore, Plaintiff puts forward no evidence

             that as a result of the alleged downward modification of working hours, any

             putative plaintiff was misled into believing that he or she did not work enough

             hours to be entitled to overtime compensation, and therefore misled as to his or

             her right to opt in to the suit.

                    In sum, Plaintiff has failed to show any evidence of conduct on the part

             of Defendants that was so misleading as to cause potential opt-in Plaintiffs to

             fail to opt in to the suit in a timely manner. As such, an equitable estoppel is

             not warranted in this case.

                           3.     Equitable Tolling

                    The Court similarly concludes that equitable tolling is not warranted.

             “Time requirements in lawsuits between private litigants are customarily

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             subject to ‘equitable tolling,’” Irwin v. Dep’t of Veterans Affairs, 498 U.S. 89,

             95 (1990), which doctrine “abates the harsh operation of the statute of

             limitations under certain circumstances in which barring a plaintiff’s potentially

             meritorious action would be unjust,” Justice v. United States, 6 F.3d 1474, 1475

             (11th Cir. 1993). Equitable tolling, however, is an “extraordinary remedy

             which should be extended only sparingly.” Id. at 1479. Courts will toll statutes

             of limitations “only upon finding an inequitable event that prevented plaintiff’s

             timely action.” Id. (internal quotation marks and citation omitted). Unlike

             equitable estoppel, which “require[s] an allegation of misconduct on the part of

             the party against whom it is made,” “equitable tolling does not require any

             misconduct on the part of the defendant,” though misconduct on the part of the

             defendant may warrant it. Browning v. AT&T Paradyne, 120 F.3d 222, 226

             (11th Cir. 1997) (citation omitted).

                   The doctrine of equitable tolling successfully has been invoked in cases

             “when the defendant misleads [the plaintiff] into allowing the statutory period

             to elapse,” “when [the plaintiff] has no reasonable way of discovering the

             wrong perpetrated against her,” or “when [the plaintiff] timely files a

             technically defective pleading and in all other respects acts with the proper

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             diligence . . . which . . . statutes of limitation were intended to insure.” Justice,

             6 F.3d at 1479 (internal quotation marks and citations omitted). The doctrine

             also has been applied in cases “when a plaintiff’s complaint was untimely as a

             result of confusing communications from the EEOC,” “where the court led the

             plaintiff to believe that she had done all that was required of her,” or “where a

             motion for appointment of counsel was pending.” Browning, 120 F.3d at 227

             (citations omitted). The aforementioned authority suggests, as other courts

             have found, that equitable tolling “does not apply unless a plaintiff is

             reasonably induced to delay the filing of a claim.” In re Tyson Foods, Inc., No.

             4:07-MD-1854 (CDL), 2008 WL 4613654, at *3 (M.D. Ga. Oct. 15, 2008). See

             also Turlington v. Atlanta Gas Light Co., 135 F.3d 1428, 1435 (11th Cir. 1998)

             (“We also reject the application of equitable tolling to this case. ADEA’s

             timing requirements might have been equitably tolled, if, in the period prior to

             the 180 days before filing the initial EEOC charge, [the plaintiff] had no reason

             to believe he was a victim of unlawful discrimination. . . . The evidence,

             however, indicates that [the plaintiff], during his [employment], protested

             vigorously against his failure to receive the same training opportunities offered

             to his younger co-workers.”); McClinton v. Ala. By-Products Corp., 743 F.2d

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             1483, 1487 (11th Cir. 1984) (holding equitable tolling not warranted when “an

             employee suspects that he may have been discriminated against on account of

             age and is also generally aware of his legal right to obtain redress for that

             wrong”).

                   For the same reasons the Court finds equitable estoppel to be inapplicable

             in this case, the Court finds that equitable tolling is unwarranted. Plaintiff has

             failed to point to any inequitable event that prevented putative plaintiffs from

             timely opting in to this suit such that the operation of the statute of limitations

             would be unjust. On the contrary, Plaintiff presents evidence that several

             Plaintiffs who have already opted in to the suit frequently complained to

             Defendants that they were not being given the overtime compensation to which

             they believed they were entitled. Plaintiff contends that Defendants ignored

             these complaints or denied that Cable Installers were entitled to overtime;

             however, Plaintiff does not allege or put forward evidence to suggest that

             putative plaintiffs actually were misled as to their rights. Nor does Plaintiff

             point to any other inequitable circumstance that induced putative plaintiffs not

             to opt in to the suit. In the absence of such evidence, the Court cannot toll the

             statute of limitations.

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                     In accordance with the foregoing, the Court finds that tolling of the

             statute of limitations as to the claims of putative opt-in Plaintiffs is not

             warranted on the facts of this case. Accordingly, the Court DENIES Plaintiff’s

             Second Motion to Toll the Statute of Limitations as to Putative “Opt-In”

             Plaintiffs [22].

             II.     Plaintiff’s Motion for Conference Pursuant to Federal Rule of Civil
                     Procedure 16 [25]

                     In his Motion for Conference Pursuant to Federal Rule of Civil Procedure

             16 (“Pl.’s Mot. for Conference”) [25], Plaintiff requests that the Court hold a

             conference pursuant to Federal Rule 16 and Rule 16.1 of the Local Rules of this

             Court. Plaintiff requests the conference for two reasons: First, Plaintiff

             contends that a conference is needed to give the parties guidance on the extent

             to which Plaintiff’s counsel may contact potential opt-in Plaintiffs prior to

             conditional collective action certification. (Pl.’s Mot. for Conference, Dkt. [25]

             at 5-8.) Second, Plaintiff requests a conference to address several “threshold

             and discovery issues,” namely, (1) briefing schedules for Plaintiff’s motions to

             toll the statute of limitations and for conditional collective action certification,




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             and (2) the scope of discovery Plaintiff is entitled to undertake regarding opt-in

             and putative Plaintiffs prior to conditional certification. (Id. at 9-11.)

                   Defendants, on the other hand, argue that a conference with the Court is

             unnecessary. (See generally Defs.’ Resp. to Pl.’s Mot. for Conference, Dkt.

             [38].) Defendants first point out that while Plaintiff requests a conference

             pursuant to both Federal Rule of Civil Procedure 16 and Local Rule 16.1, the

             two rules govern two different types of conferences. (Id. at 1-2.) Indeed, as

             Defendants point out, Federal Rule 16 governs pretrial conferences and

             provides that the Court may order counsel to appear at a pretrial conference for

             such purposes as “expediting disposition of the action,” “establishing early and

             continuing control so that the case will not be protracted because of lack of

             management,” and “discouraging wasteful pretrial activities.” Fed. R. Civ. P.

             16(a). Local Rule 16.1, on the other hand, governs Federal Rule 26(f)

             conferences7 and requires counsel for all parties to “confer in person in an effort

             to settle the case” and to discuss discovery and other issues. LR 16.1, NDGa.

             As the two rules govern different conferences, Defendants contend that


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                      Rule 26(f) provides that, except in certain cases, “the parties must confer as
             soon as practicable–and in any event at least 21 days before a scheduling conference is
             to be held or a scheduling order is due under Rule 16(b).” Fed. R. Civ. P. 26(f).

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             Plaintiff’s request for a conference is ambiguous. (Defs.’ Resp. to Pl.’s Mot.

             for Conference, Dkt. [38] at 2.)

                   Defendants argue that a conference with the Court, pursuant to Federal

             Rule 16, is unnecessary and that a Rule 26(f) conference, pursuant to Local

             Rule 16.1, is sufficient to resolve the issues raised in Plaintiff’s motion. (Id. at

             2-3.) Defendants argue that the text of Local Rule 16.1 plainly contemplates

             that the parties will discuss discovery issues at a Rule 26(f) conference, without

             Court involvement. (Id. at 2.) Defendants also point out that the parties may

             request any scheduling conferences that may be needed following the Rule

             26(f) conference in the Joint Preliminary Report and Discovery Plan. (Id.

             (citing LR App’x B, Joint Preliminary Report and Discovery Plan ¶ 9).) Thus,

             Defendants argue, there is no need for a Federal Rule 16 conference with the

             Court at this time. (Id. at 3.)

                   The Court concludes that a conference with the Court is unnecessary at

             this time given that the issues raised in Plaintiff’s motion have become moot as

             a result of the Court’s rulings in this Order. In particular, because the Court has

             granted Plaintiff’s motion for conditional certification and issuance of notice to

             putative class members (see Part IV, infra), the extent to which Plaintiff’s

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             counsel may contact putative opt-in Plaintiffs prior to conditional certification

             is a moot issue. Similarly, the scope of permissible pre-conditional certification

             discovery is no longer an issue. Finally, Plaintiff’s motion to toll the statute of

             limitations and motion for conditional certification have been fully briefed and

             ruled on by the Court in this Order; as such, a conference is not needed to

             determine briefing schedules for those motions. In sum, because each issue

             raised by Plaintiff in support of his motion for conference has been resolved, a

             conference is not necessary. Accordingly, the Court hereby DENIES Plaintiff’s

             Motion for Conference Pursuant to Federal Rule of Civil Procedure 16 [25].

             III.     Defendants’ Motion for Sanctions and for Limitations on Opposing
                      Counsel’s Pre-Certification Communications [39]

                      Pursuant to Rule 7.3(d) of the Georgia Rules of Professional Conduct

             and Local Rule 83.1C,8 Defendants move the Court to sanction Plaintiff’s

             counsel for contacting potential opt-in Plaintiffs and soliciting their

             participation in this lawsuit, and to impose limitations on Plaintiff’s counsel’s

             future pre-collective action certification communications with potential


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                      This rule provides, “All lawyers practicing before this court shall be governed
             by and shall comply with . . . the Georgia Rules of Professional Conduct contained in
             the Rules and Regulations of the State Bar of Georgia and with the decisions of this
             court interpreting these rules and standards.” LR 83.1(C), NDGa.

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             Plaintiffs. (See generally Defs.’ Mot. for Sanctions and for Limitations on

             Opposing Counsel’s Pre-Certification Communications (“Defs.’ Mot.”), Dkt.

             [39].) Rule 7.3(d) of the Georgia Rules of Professional Conduct provides, “A

             lawyer shall not solicit professional employment as a private practitioner for the

             lawyer, a partner or associate through direct personal contact or through live

             telephone contact, with a non-lawyer who has not sought advice regarding

             employment of a lawyer.” The Court first sets out the facts underlying

             Defendants’ motion before considering its merits.

                   A.     Background Facts

                   Defendants allege that on or about January 30, 2012, in violation of

             Georgia Rule of Professional Conduct 7.3(d), at least one employee of The Katz

             Law Group contacted the following Advanced Cable employees by phone to

             solicit their participation in this suit: Matthew Meyers, Anthony Head, Cecil

             Pacatti III, David “Larry” Gresham, and Joey Sterle. (Mem. of Law in Supp. of

             Defs.’ Mot. (“Defs.’ Mem. of Law”), Dkt. [39-1] at 2-6.) On February 14,

             2012, one of these employees, Mr. Sterle, opted in to the suit by filing a

             Consent To Be A Party Plaintiff. (Id. Ex. 1; Dkt. [34].) Defendants request that

             the Court sanction Plaintiff’s counsel for these allegedly improper

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             communications. Defendants also request that the Court place limitations on

             opposing counsel’s future pre-collective action certification communications

             with putative opt-in Plaintiffs, arguing that the communications that have

             already occurred were false and misleading. (Defs.’ Mem. of Law, Dkt. [39-1]

             at 12-15.)

                   Plaintiff admits that on January 27, 2012, a non-attorney representative of

             Plaintiff, Rachel Katz, asked another non-attorney representative, Susie

             Gerchicoff, to contact putative opt-in Plaintiffs from a phone directory list of

             Advanced Cable employees provided by an opt-in Plaintiff. (Pl.’s Resp. in

             Opp’n to Defs.’ Mot. for Sanctions and for Limitations on Communications

             (“Pl.’s Resp. in Opp’n”), Dkt. [43] at 3.) Plaintiff alleges that Ms. Katz was

             unaware of any ethical restrictions on communications with potential class

             members and did not consult with any of Plaintiff’s attorneys regarding the

             content of communications that properly could be had with potential Plaintiffs.

             (Id.) Plaintiff further alleges that of the fourteen Plaintiffs who have opted in to

             the suit, only two (Said Chambuso and Joseph Sterle) were contacted initially

             by The Katz Law Group. (Id. at 4.)




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                   On January 30, 2012, Defendants’ counsel sent Plaintiff’s counsel a letter

             demanding that counsel for Plaintiff cease all communications with putative

             opt-in Plaintiffs. (Dkt. [43-9].) Plaintiff’s counsel responded on January 31,

             2012, agreeing to cease communications with potential opt-in Plaintiffs until the

             Court could give the parties guidance on the extent to which such

             communications could be had. (Dkt. [43-10].) Shortly thereafter, on February

             3, 2012, Plaintiff filed his motion for a Federal Rule 16 Conference, discussed

             in Part II, supra. Plaintiff alleges that no further communications have been had

             between Plaintiff’s counsel’s office and putative opt-in Plaintiffs since

             Plaintiff’s counsel agreed to cease all such communications. (Pl.’s Resp. in

             Opp’n, Dkt. [43] at 5.)

                   B.     Analysis

                   Defendants first move the Court to sanction Plaintiff’s counsel for

             violating Rule 7.3(d) of the Georgia Rules of Professional Conduct by

             contacting and soliciting employment from putative opt-in Plaintiffs. (Defs.

             Mem. of Law, Dkt. [39-1] at 7-12.) As stated above, Rule 7.3(d) prohibits

             lawyers from soliciting professional employment from nonlawyers, who have

             not sought advice regarding employment of a lawyer, through direct personal or

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             live telephone contact. Georgia Rule of Professional Conduct 5.3 further

             provides that lawyers are obligated to train nonlawyer employees regarding the

             ethical obligations of lawyers and that, in certain circumstances, a lawyer may

             be held liable for a violation of the Rules based on the conduct of a nonlawyer

             employee. It is well settled that district courts have the power to discipline

             attorneys who appear before them for violating the rules of professional

             conduct. Hamm v. TBC Corp., 345 F. App’x 406, 410 (11th Cir. 2009) (citing

             Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991)).

                   As explained in detail above, the alleged solicitation of clients in this case

             occurred with respect to putative opt-in Plaintiffs in the pre-collective action

             certification context. The Supreme Court has explicitly recognized the potential

             for abuse in this context. In Gulf Oil Company v. Bernard, the United States

             Supreme Court noted that although “class actions serve an important function in

             our system of civil justice,” they also present “opportunities for abuse,” many

             of which are “associated with communications to class members.” 452 U.S. 89,

             99-100 (1981). These potential abuses include “heightened susceptibilities of

             nonparty class members to solicitation amounting to barratry,” “increased

             opportunities of the parties and counsel to ‘drum up’ participation in the

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             proceedings,” and “[u]napproved communications to class members that

             misrepresent the status or effect of the pending action.” Id. at 101 n.12 (internal

             quotation marks and citations omitted). As the Supreme Court has recognized,

             the same potentials for abuse present in the class action context are present in

             collective actions. Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165, 171

             (1989).

                   In light of these potentials for abuse, “‘a district court has both the duty

             and the broad authority to exercise control over a class [or collective] action and

             to enter appropriate orders governing the conduct of counsel and the parties.’”

             Id. at 171 (quoting Gulf Oil Co., 452 U.S. at 100 and applying reasoning of

             same to collective action); see also Maddox v. Knowledge Learning Corp., 499

             F. Supp. 2d 1338, 1343 (N.D. Ga. 2007) (“[T]he court has broad authority to

             manage the collective action . . . .”) (citation omitted). To this end, courts may

             prohibit false or misleading pre-notice communications with putative plaintiffs.

             Id. at 1342-43 (citing cases); Taylor v. CompUSA, Inc., No. CIVA 1:04-cv-

             718-WBH, 2004 WL 1660939, at *3 (N.D. Ga. June 29, 2004); Mevorah v.

             Wells Fargo Home Mortgage, Inc., et al., No. C-05-1175-MHP, 2005 WL

             4813532, at *3 (N.D. Cal. Nov. 17, 2005) (“Courts have limited pre-

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             certification communications with potential class members after misleading,

             coercive, or improper communications were made.”). At the same time,

             however, “[p]re-certification communications to potential class members by

             both parties are generally permitted, and also considered to constitute

             constitutionally protected speech.” Mevorah, 2005 WL at *3. Accordingly,

             courts must be “mindful not to run afoul of plaintiffs’ and their lawyers’ free

             speech rights in their restrictions of pre-notice communications.” Maddox, 499

             F. Supp. 2d at 1343. Court-imposed restrictions on such communications

             therefore must be based on “a clear record and specific findings that reflect a

             weighing of the need for a limitation and the potential interference with the

             rights of parties.” Id. (internal quotation marks and citation omitted).

                   In light of the First Amendment protection generally afforded to pre-

             collective action certification communications with putative opt-in plaintiffs,

             the propriety of the communications at issue in this case is subject to debate.

             Although it is troublesome to the Court that the communications took place via

             live telephone contact, which is explicitly prohibited by Georgia Rule of

             Professional Conduct 7.3(d), the Court notes, on the other hand, that upon

             receiving the cease and desist letter from opposing counsel, Plaintiff’s counsel

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             immediately ceased all contact with putative opt-in Plaintiffs and sought

             guidance from the Court as to how to proceed. These actions demonstrates a

             lack of bad faith on the part of Plaintiff’s counsel. The absence of bad faith on

             the part of Plaintiff’s counsel, combined with the First Amendment protections

             afforded to pre-notice speech, convinces the Court that sanctions are not

             warranted in this case, even if permitted under the Rules of Professional

             Conduct.

                   The Court further finds that Defendants’ request for limitations on

             opposing counsel’s future pre-notice communications with putative opt-in

             plaintiffs is moot in light of the Court’s decision to grant Plaintiff’s motion for

             conditional class certification. (See Part IV, infra (granting Plaintiff’s Motion

             for Conditional Collective Action Certification and Issuance of Notice to

             Putative Class Members [41]).) The notice approved by the Court in this Order

             necessarily will govern Plaintiff’s counsel’s future communications with

             putative opt-in Plaintiffs and restrict the content of those communications.

             Additionally, to the extent any pre-notice communications between Plaintiff’s

             counsel’s office and putative plaintiffs were false or misleading, as Defendants




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             contend, the Court-approved notice will correct any falsehoods or

             misstatements.

                     However, in an abundance of caution, the Court will require that the two

             Plaintiffs who opted in to this case after communications from The Katz Law

             Group (Said Chambuso and Joseph Sterle) file renewed Consent Forms to join

             the case. Plaintiff’s counsel shall provide these Plaintiffs with the Notice

             authorized by this Order. If, after receiving that Notice, these Plaintiffs wish to

             remain in the case, they should sign and submit the Consent Form. The date on

             which they will be deemed to have joined the action for purposes of calculating

             the statute of limitations shall be the date they originally filed their Consents to

             be a Party Plaintiff.

                     In accordance with the foregoing, Defendants’ Motion for Sanctions and

             for Limitations on Opposing Counsel’s Pre-Notice Communications [39] is

             DENIED.

             IV.      Plaintiff’s Motion for Conditional Collective Action Certification
                     and Issuance of Notice to Putative Class Members [41]

                     Plaintiff moves the Court to conditionally certify this matter as a

             collective action under § 216(b) of the FLSA and to authorize notice to all



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             members of the proposed class. The proposed class is to consist of “all ‘Cable

             Technicians’ employed by Advanced Cable in Georgia at any time since

             January 12, 2009.”9 (Pl.’s Mem. in Supp. Mot. for Conditional Collective

             Action Certification & Issuance of Notice to Putative Class Members (“Pl.’s

             Mem.”), Dkt. [41-1] at 3 of 23.) The FLSA authorizes collective actions,

             providing, in pertinent part:

                   An action ... may be maintained against any employer ... by any
                   one or more employees for and in behalf of himself or themselves
                   and other employees similarly situated. No employee shall be a
                   party plaintiff to any such action unless he gives his consent in
                   writing to become such a party and such consent is filed with the
                   court in which such action is brought.

             29 U.S.C. § 216(b). Under this provision, “a putative plaintiff must

             affirmatively opt into a § 216(b) action by filing his written consent with the

             court in order to be considered a class member and be bound by the outcome of

             the action.” Hipp v. Liberty Nat’l Life Ins. Co., 252 F.3d 1208, 1216 (11th Cir.

             2001). The Court, in its discretion, may authorize the sending of notice to

             potential class members of their right to opt in. Dybach v. State of Fla. Dep’t of

             Corrections, 942 F.2d 1562, 1567 (11th Cir. 1991).



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                       January 12, 2009 is the date of filing of the original Complaint. (Dkt. [1].)

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                   As is clear from the plain language of § 216(b), an opt-in class may be

             certified only where the named plaintiff sues on behalf of himself and other

             “similarly situated” employees. Id. at 1217 (citing 29 U.S.C. § 216(b)); Kreher

             v. City of Atlanta, No. 1:04-CV-2651, 2006 WL 739572, at *2 (N.D. Ga. Mar.

             20, 2006). The Eleventh Circuit suggests a two-tiered approach to making class

             certification decisions under this provision:

                          The first determination is made at the so-called ‘notice
                   stage.’ At the notice stage, the district court makes a
                   decision–usually based only on the pleadings and any affidavits
                   which have been submitted–whether notice of the action should be
                   given to potential class members. Because the Court has minimal
                   evidence, this determination is made using a fairly lenient standard,
                   and typically results in ‘conditional certification’ of a
                   representative class. If the district court ‘conditionally certifies’
                   the class, putative class members are given notice and an
                   opportunity to ‘opt-in.’ The action proceeds as a representative
                   action throughout discovery.

                          The second determination is typically precipitated by a
                   motion for ‘decertification’ by the defendant usually filed after
                   discovery is largely complete and the matter is ready for trial. At
                   this stage, the court has much more information on which to base
                   its decision, and makes a factual determination on the similarly
                   situated question. If the claimants are similarly situated, the
                   district court allows the representative action to proceed to trial. If
                   the claimants are not similarly situated, the district court decertifies
                   the class, and the opt-in plaintiffs are dismissed without prejudice.
                   The class representatives–i.e. the original plaintiffs–proceed to trial
                   on their individual claims.

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             Hipp, 252 F.3d at 1218 (citing Mooney v. Aramco Servs. Co., 54 F.3d 1207,

             1213-14 (5th Cir. 1995)).

                   This case is before the Court for the “first determination” of class

             certification. In deciding whether to conditionally certify the proposed class,

             the Court must determine (1) whether the employees sought to be included in

             the putative class are “similarly situated” with respect to their job requirements

             and pay provisions, and (2) whether there are other employees who wish to opt

             in to the action. Dybach, 942 F.2d at 1567-68. The Court considers, in turn,

             these prerequisites to conditional class certification.

                   A.     Similarity of employment positions and pay provisions of putative
                          class members.

                   Plaintiff bears the burden of showing, under § 216(b), that he is

             “similarly situated” to the members of the putative class he seeks to represent.

             Grayson, 79 F.3d at 1096. As stated above, this burden is not a heavy one. See

             also Grayson, 79 F.3d at 1095-96 (“[T]he ‘similarly situated’ requirement of §

             216(b) is more elastic and less stringent than the requirements found in Rule 20

             (joinder) and Rule 42 ( severance).”). To satisfy the “similarly situated”

             requirement, “plaintiffs need show only that their positions are similar, not

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             identical, to the positions held by the putative class members.” Id. at 1096

             (internal quotation marks and citation omitted). Additionally, “plaintiffs bear

             the burden of demonstrating a ‘reasonable basis’ for their claim of class-wide

             discrimination.” Id.

                   In this case, Plaintiff alleges that he and the putative class members were

             employed as Cable Technicians and thus held identical positions at Advanced

             Cable in Georgia. (Pl.’s Mem., Dkt. [41-1], passim.) Plaintiff further alleges

             that he and the proposed class members were “paid in the same manner, worked

             very similar hours, performed the same principal job duties of cable and internet

             service and installation appointments, and were subjected to the same unlawful

             policy, i.e. Defendants’ failure to pay ‘Cable Installers’ overtime wages for all

             hours of ‘piece-rate’ work performed in excess of 40 hours in given work

             weeks.” (Id. at 8 of 23). In support of these allegations, Plaintiff offers his own

             declaration as well as declarations of six other putative class members. (Id. at

             17 of 23.) Each of the seven declarations provides that the declarant was

             employed as a Cable Installer; that the declarant was paid “piece-rate”

             compensation; that the declarant often worked in excess of forty (40) hours in a

             given week; and that Defendants did not pay the declarant overtime for work

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             performed in excess of forty (40) hours in a given work week. (See generally

             Decl. of Walter Bennett, Dkt. [41-3]; Decl. of Luther Lamont Deloach, Dkt.

             [41-4]; Decl. of Derek Moore, Dkt. [41-4]; Decl. of Monty Dannenberg, Dkt.

             [41-6]; Decl. of Patrick Thompson, Dkt. [41-7]; Decl. of Raymond Canty, Dkt.

             [41-8]; Decl. of Ivan Carroll, Dkt. [41-9].) Two of the declarations further

             provide that the principal job duties of a Cable Installer “were to perform cable

             and internet installation and service appointments.” (Bennett Decl., Dkt. [41-3]

             at ¶ 3; Deloach Decl., Dkt. [41-4] at ¶ 3.)

                   Defendant contends that Plaintiff’s declarations consist only of “vague”

             and cookie-cutter assertions,” many of which “contain basic factual

             inaccuracies.” (Defs.’ Resp. to Pl.’s Mot. for Conditional Collective Action

             Certification & Issuance of Notice to Putative Class Members (“Defs.’ Resp.”),

             Dkt. [44] at 3-5 of 14.) For example, Defendants argue that contrary to the

             assertions of declarants Bennett and Deloach, Defendants’ Cable Installers

             perform only equipment installations and do not service appointments. (Id. at 5

             of 14.) Defendants thus contend that Plaintiff has proffered only “exceptionally

             weak evidentiary support” for its motion for conditional certification, which

             motion accordingly should be denied. (Id.)

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                   At the notice stage, however, the Court need not engage in credibility

             determinations; instead, the Court must determine only whether Plaintiff has

             presented sufficient–not factually correct–evidence that the putative class

             members and Plaintiff are “similarly situated.” See, e.g., Reyes v. AT&T

             Corp., 801 F. Supp. 2d 1350, 1358 (S.D. Fla. 2011) (“In keeping with the

             practical approach which shuns credibility battles at the first stage, in all but a

             handful of cases, where discovery has already occurred, the individual factual

             analysis is saved for the second stage of the certification.”) (internal footnote,

             quotation marks, and citations omitted). Under the lenient standard that applies

             at this stage, the Court finds that Plaintiff has presented sufficient evidence to

             show that he and the putative class members are “similarly situated.” In

             particular, the Court finds sufficient Plaintiff’s allegations that he and the

             putative class members all (1) worked for Defendants in Georgia in the same

             job position, i.e., as Cable Technicians; (2) received “piece-rate” compensation;

             (3) regularly worked in excess of forty (40) hours per week; and (4) did not

             receive overtime compensation for such excess work performed.

                   B.     Sufficiency of interest by other employees in the lawsuit.

                   Although Plaintiff has demonstrated that he is similarly situated to the

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             other members of the putative class under the lenient standard appropriate at the

             notice stage, he must also demonstrate that other employees wish to opt in

             before the Court may grant conditional certification. Dybach, 942 F.2d at 1567-

             68. Since the filing of Plaintiff’s Complaint, fourteen other individuals have

             filed consent forms to opt in to this action. (See Notices of Consent Filings,

             Dkt. [3, 6, 9, 11, 12, 14, 16, 17, 19, 26, 27, 32, 34, 37].) At this stage of the

             proceedings, the Court is satisfied that Plaintiff has demonstrated that other

             employees wish to opt in to this action, and notes that Defendants do not contest

             Plaintiff’s motion for conditional certification on this point.

                   In sum, as Plaintiff has satisfied his burden of showing that he and the

             putative class members are similarly situated and that others wish to opt in to

             the action, the Court finds that conditional certification of this case as a

             collective action is warranted under § 216(b). The Court is cognizant that

             certification of collective actions under the FLSA is intended to promote

             judicial economy, according to which “[t]he judicial system benefits by

             efficient resolution in one proceeding of common issues of law and fact arising

             from the same alleged . . . activity.” Barten v. KTK Assocs., No. 8:06-CV-

             1574-T-27EAJ, 2007 WL 2176203, at *1 (M.D. Fla. July 26, 2007) (quoting

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             Hoffman-LaRoche, Inc., 493 U.S. at 170). Should Defendants move for

             decertification following discovery, the Court will revisit the determinations

             made in this Order. Nevertheless, at this stage, the Court will permit Plaintiff to

             send notice of opt-in rights to potential members of the class. Plaintiff’s

             Motion for Conditional Collective Action Certification [41] is GRANTED.

             The class shall be defined as follows:

                    All persons currently or formerly employed by Advanced Cable
                    Contractors, Inc. (“Advanced Cable”) as a Cable Technician, in the
                    State of Georgia at any time between [three years prior to the
                    mailing date of notice]10 and December 23, 2011,11 whom

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                       In light of the Court’s denial of Plaintiff’s motion to toll the statute of
             limitations (see Part I, supra), the Court rejects Plaintiff’s proposed class definition as
             including all persons employed as Cable Technicians on or after January 12,
             2009–three years prior to the date of filing of the Complaint. Instead, the relevant
             date for statute of limitations purposes is three years prior to the mailing date of the
             Notice approved by the Court in this Order. See, e.g., Simpkins v. Pulte Home Corp.,
             No. 6:08-CV-130-Orl-19DAB, 2008 WL 3927275, at * 9 n.9 (M.D. Fla. Aug. 21,
             2008) (authorizing notice to those employed within last three years from the date of
             mailing of notice and explaining, “Because the statute of limitations runs until the
             written opt-in notice is filed with the Court, 29 U.S.C. § 256, it is prudent to calculate
             the notice period from the latest possible date.”).
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                       Defendants contend that notice should not be sent to Cable Technicians hired
             on or after December 23, 2011 because on that date, Advanced Cable changed its
             compensation system “from a commission-based system to a production bonus pay
             method based on a set hourly wage plus overtime.” (Defs.’ Resp., Dkt. [44] at 7.) As
             Plaintiff does not respond to this argument, the Court will permit notice only to those
             Cable Technicians employed by Advanced Cable between three years prior to the
             mailing date of notice and December 23, 2011, the date on which Cable Technicians
             began receiving overtime compensation. As Defendants argue, “[A]ny [Cable

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                    Defendants failed to pay overtime compensation for all hours
                    worked in excess of 40 hours in given pay periods, for example,
                    where Cable Technicians were not adequately paid as a result of
                    Advanced Cable paying Cable Technicians with “piece-rate”
                    compensation for cable and internet service and installation
                    appointments without providing an overtime premium for hours or
                    appointments worked in excess of 40 hours in given work weeks.

             V.     Plaintiff’s Consent Motion to Dismiss with Prejudice Defendant
                    American Cable, Inc. as a Defendant [67]

                    The Court GRANTS Plaintiff’s Consent Motion to Dismiss with

             Prejudice American Cable, Inc. as a Defendant [67]. Accordingly, Defendant

             American Cable, Inc. is hereby DISMISSED with prejudice from the suit.

                                                 Conclusion

                    In accordance with the foregoing, the Court hereby DENIES Plaintiff’s

             Second Motion to Toll the Statute of Limitations as to Putative “Opt-In”

             Plaintiffs [22], DENIES Plaintiff’s First Motion for Conference Pursuant to

             Federal Rule of Civil Procedure 16 [25], and DENIES Defendants’ Motion for

             Sanctions and for Limitations on Opposing Counsel’s Pre-Certification




             Technician] whose employment began on or after that date is not similarly situated to
             those employed prior to that date, as s/he was never paid under the so-called ‘piece-
             rate’ compensation system Plaintiff alleges to be unlawful.” (Id.)

                                                      40



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             Communications [39].12 The Court GRANTS Plaintiff’s Motion for

             Conditional Collective Action Certification and Issuance of Notice to Putative

             Class Members [41], GRANTS Defendants’ Motion for Leave to File a

             Surreply to Plaintiff’s Second Motion to Toll the Statute of Limitations as to

             Putative “Opt-In” Plaintiffs [45], and GRANTS Plaintiff’s Consent Motion to

             Dismiss with Prejudice Defendant American Cable, Inc. as a Defendant [67].

                   The conditionally certified Class shall be defined as follows:

                   All persons currently or formerly employed by Advanced Cable
                   Contractors, Inc. (“Advanced Cable”) as a Cable Technician, in the
                   State of Georgia at any time between [three years prior to the
                   mailing date of notice] and December 23, 2011, whom Defendants
                   failed to pay overtime compensation for all hours worked in excess
                   of 40 hours in given pay periods, for example, where Cable
                   Technicians were not adequately paid as a result of Advanced
                   Cable paying Cable Technicians with “piece-rate” compensation
                   for cable and internet service and installation appointments without
                   providing an overtime premium for hours or appointments worked
                   in excess of 40 hours in given work weeks.

             Plaintiff submitted a Notice of Court Certification of Collective Action in

             Federal Overtime Lawsuit Against Advanced Cable Contractors, American

             Cable and Lisa Adcox Meyer [41-2] with his Motion for Conditional Collective



                   12
                     However, Opt-in Plaintiffs Chambuso and Sterle must file renewed Consent
             Forms as required in Section III.B. hereof to remain in the case.

                                                    41



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             Action Certification. Defendants outlined several objections to the proposed

             notice in their Response to Plaintiff’s Motion for Conditional Collective Action

             Certification and Issuance of Notice to Putative Class Members [44]. The

             Court has reviewed Plaintiff’s submissions and Defendants’ objections and

             finds that a Notice attached to this Order as Exhibit “A” should be sent to

             prospective class members. Defendants shall provide to Plaintiffs, within seven

             (7) days of the entry of this Order, the names, last known addresses, telephone

             numbers, dates of birth, and last four digits of the social security numbers of

             each person employed by Advanced Cable as a Cable Technician within the

             time specified in the Class definition above in electronic format so that Plaintiff

             may send notice to them.

                   SO ORDERED, this 7th          day of May, 2012.



                                                     _______________________________
                                                     RICHARD W. STORY
                                                     UNITED STATES DISTRICT JUDGE




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                                      EXHIBIT “A”




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


             WALTER BENNETT, JR., on              :
             behalf of himself and all others     :
             similarly situated,                  :
                                                  :
                    Plaintiff,                    :   CIVIL ACTION NO.
                                                  :   1:12-CV-00115-RWS
             v.                                   :
                                                  :
             ADVANCED CABLE                       :
             CONTRACTORS, INC., a Georgia         :
             Corporation, and LISA ADCOX          :
             MEYER,                               :
                                                  :
                    Defendants.                   :



                           NOTICE OF LAWSUIT WITH OPPORTUNITY TO JOIN

             TO:    ALL PERSONS CURRENTLY OR FORMERLY EMPLOYED BY
                    ADVANCED CABLE CONTRACTORS, INC. (“ADVANCED CABLE”) AS A
                    CABLE TECHNICIAN, IN THE STATE OF GEORGIA AT ANY TIME
                    BETWEEN [THREE YEARS PRIOR TO THE MAILING DATE OF NOTICE]
                    AND DECEMBER 23, 2011, WHOM DEFENDANTS FAILED TO PAY
                    OVERTIME COMPENSATION FOR ALL HOURS WORKED IN EXCESS
                    OF 40 HOURS IN GIVEN PAY PERIODS, FOR EXAMPLE, WHERE CABLE
                    TECHNICIANS WERE NOT ADEQUATELY PAID AS A RESULT OF
                    ADVANCED CABLE PAYING CABLE TECHNICIANS WITH “PIECE-
                    RATE” COMPENSATION FOR CABLE AND INTERNET SERVICE AND
                    INSTALLATION APPOINTMENTS WITHOUT PROVIDING AN
                    OVERTIME PREMIUM FOR HOURS OR APPOINTMENTS WORKED IN
                    EXCESS OF 40 HOURS IN GIVEN WORK WEEKS.

             RE:    FAIR LABOR STANDARDS ACT (“FLSA”) OVERTIME LAWSUIT
                    AGAINST ADVANCED CABLE AND LISA ADCOX MEYER.




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                                                   INTRODUCTION

             The purpose of this Notice is to: (1) inform you that a collective action lawsuit exists that
             you might join; (2) advise you how your rights may be affected by this lawsuit; and (3)
             instruct you on the procedure for participating in this lawsuit, if you choose to do so.

                                          DESCRIPTION OF THE ACTION

             In January of this year (2012), Plaintiff filed an action against Defendants Advanced Cable
             and Lisa Adcox Meyer (collectively referred to as “Defendants”) on behalf of himself and all
             similarly situated persons currently or formerly employed by Advanced Cable as a Cable
             Technician in Georgia at any time between three years prior to the mailing date of notice and
             December 23, 2011.

             Plaintiff alleges that Defendants failed to pay these individuals overtime compensation for all
             hours worked in excess of 40 hours in given pay periods, in violation of the Federal Fair
             Labor Standards Act, 29 U.S.C. § 201 et seq. In particular, Plaintiff alleges that Cable
             Technicians were not adequately paid as a result of Advanced Cable paying Cable
             Technicians with “piece-rate” compensation for cable and internet service and installation
             appointments without providing an overtime premium for hours or appointments worked in
             excess of 40 hours in given work weeks.

             Defendants deny that they have violated the FLSA, or that any overtime pay is owed, and are
             defending against all claims that have been asserted against them.

             The Court has taken no position in this case regarding the merits of Plaintiff’s claims or the
             Defendants’ defenses. As such, this Notice does not mean you have a valid claim or are
             entitled to any monetary recovery. Any such determination must still be made by the Court.

                               YOUR RIGHT TO PARTICIPATE IN THIS ACTION

             You may join in this lawsuit if you worked as a Cable Technician at Advanced Cable in
             Georgia between [three years prior to the mailing date of notice] and December 23, 2011.

             It is entirely your decision whether to join this lawsuit. You are not required to take any
             action unless you desire to join. If you fit the definition above for those who may join the
             lawsuit, you may choose to join this action by mailing or faxing the attached Consent Form
             to Plaintiff's attorneys:




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             Stephen M. Katz, Esq.
             V. Severin Roberts, Esq.
             The Katz Law Group
             4799 Olde Towne Parkway, Suite 200
             Marietta, Georgia 30068
             Telephone: (770) 988-8181
             Facsimile: (770) 988-8182
             email: rachel@smk-law.com

             The Consent Form must be received by The Katz Law Group on or before [60 days after
             mailing of this Notice] for you to participate in this case.

                            EFFECT OF JOINING OR NOT JOINING THIS ACTION

             If you join this action, you will be bound by any ruling, judgment, award, or settlement,
             whether favorable or unfavorable. While this lawsuit is proceeding, you may be required to
             provide information or documents, or otherwise participate in this action.

             If you file a Consent Form, your continued right to participate in this action will depend upon
             a later decision by the Court that you and the named Plaintiffs are "similarly situated" in
             accordance with applicable laws and that it is appropriate for this case to proceed as a
             collective action.

             If you choose not to join this action, you will not be bound by any ruling, judgment, or
             settlement entered in this case, favorable or unfavorable. If you choose not to join this
             lawsuit, you may file a separate lawsuit on your own or choose to take no action at all.

                                           STATUTE OF LIMITATIONS

             The FLSA has a two to three year statute of limitations, depending upon later decisions by
             the Court. If you choose to join this action, you may be able to recover damages only for
             hours worked within two or possibly three years of the date your Consent Form is filed. If
             you choose not to join in this action or file your own action, some or all of your potential
             claims may later be barred by the applicable statute of limitations.

                                         NO RETALIATION PERMITTED

             You have an absolute right to join this lawsuit free from any fear that Defendants will
             retaliate against you in any way. The law prohibits retaliation against employees for
             exercising their rights under the FLSA.




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                                    LEGAL REPRESENTATION IF YOU JOIN

             If you choose to join this case by filing a Consent Form, your interests will be represented
             by:

             Stephen M. Katz, Esq.
             V. Severin Roberts, Esq.
             The Katz Law Group
             4799 Olde Towne Parkway, Suite 200
             Marietta, Georgia 30068
             Telephone: (770) 988-8181
             Facsimile: (770) 988-8182
             email: rachel@smk-law.com

                                            FURTHER INFORMATION

             Further information about this lawsuit or this Notice can be obtained by contacting Plaintiff’s
             counsel at the address or telephone number provided above.

             THIS NOTICE AND ITS CONTENT HAVE BEEN AUTHORIZED BY THE U.S.
             DISTRICT COURT, NORTHERN DISTRICT OF GEORGIA, HONORABLE JUDGE
             RICHARD W. STORY.




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                                                   CONSENT FORM

                    1. I hereby consent to join the lawsuit brought under the Fair Labor Standards Act,
             29 U.S.C. § 201, et seq., to recover compensation I may be owed by my current/former
             employer, Advanced Cable Contractors, Inc. (“Advanced Cable”).

                   2. Between [three years prior to the mailing date of Notice] and December 23, 2011, I
             worked for Advanced Cable in Georgia as a Cable Technician. I did not receive overtime
             compensation for all hours worked in excess of 40 hours in given pay periods.

                       3. I hereby designate the law firm of The Katz Law Group to represent me in this
             action.

             Date: ___________________ ____________________________________
                                      Signature

                                     ____________________________________
                                     Print Name
             __________________________________________________________________________
                        No Information Included Below Will be Filed With the Court

                          PLEASE PRINT OR TYPE THE FOLLOWING INFORMATION:

             Name:_____________________________________________________________________
                   (First)           (Middle)          (Last)

             Street Address:______________________________________________________________

             City, State, Zip: _____________________________________________________________

             Home: __________________ Work: ____________________ Cell: ____________________

             Email: __________________________ Secondary Email: ___________________________

             Social Security Number: _____________________(or) Date of Birth:___________________

             Emergency Contact
             _________________________________________________________________
             (In case we lose contact with you)

             FAX OR MAIL TO:                 Stephen M. Katz, Esq. & V. Severin Roberts, Esq.
                                             The Katz Law Group
                                             4799 Olde Towne Parkway, Suite 200, Marietta, GA 30068
                                             Telephone: (770) 988-8181 Fax: (770) 988-8182



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